  Case 3:18-cv-00428-DMS-AHG Document 46-1 Filed 03/16/18 PageID.847 Page 1 of 4




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17                             UNITED STATES DISTRICT COURT
18                          SOUTHERN DISTRICT OF CALIFORNIA
19
20 MS. L,                                       Case No. 18cv428 DMS MDD
21                 Petitioner-Plaintiff,
22        vs.                                   DECLARATION OF MARIO ORTIZ
23 U.S. IMMIGRATION AND CUSTOMS
   ENFORCEMENT, et al.,
24
               Respondents-Defendants.
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  Case 3:18-cv-00428-DMS-AHG Document 46-1 Filed 03/16/18 PageID.848 Page 2 of 4




 1         I, Mario Ortiz, have been a Detention Officer for the San Diego District of U.S.
 2 Immigration and Customs Enforcement (ICE), Enforcement and Removal Operations
 3 (ERO) since February 1996. Assistant U.S. Attorney Sam Bettwy asked me to make this
 4 Declaration about the procedures that ERO San Diego Family Unit currently follows, for
 5 purposes of responding to Petitioner Ms L’s motion for preliminary injunction.
 6         1. I have been assigned to the Family Unit as Assistant Field Office Director since
 7 November 2017, and I am therefore familiar with the procedures that the San Diego Family
 8 Unit currently follows.
 9         2. When aliens who enter ICE custody claim to be parent and child, they are referred
10 to the Family Unit. ICE’s San Diego Family Unit does not have a policy or practice “of
11 separating migrant families.” The mission of the Family Unit is to make appropriate
12 placement decisions for aliens traveling with children who claim family relationships. When
13 appropriate, the unit ensures the proper care and custody of the children with the HHS
14 Office of Refugee Resettlement.
15         3. When aliens claiming a parent-child relationship are encountered, my unit’s
16 primary considerations are, first, whether there is any doubt about whether they are parent
17 and child and, second, whether there is information that causes a concern about the welfare
18 the child, such as the adult having a significant criminal history. Based on the information
19 available in a specific case, if there are not concerns about the family relationship or welfare
20 of the child, the aliens may be detained at a family residential center or, if appropriate,
21 released to a sponsor or non-governmental organization. If there are concerns, the child may
22 be transferred to the U.S. Department of Health and Human Services Office of Refugee
23 Resettlement (ORR) for care and placement consideration.
24         4. Once a child is transferred to ORR’s care and custody, it is my understanding that
25 ICE no longer has any authority over what his or her custody, care, or placement will be.
26 Those decisions must be made by ORR, and it is my understanding that ICE cannot re-
27 detain children who have been transferred to the care and custody of ORR. It is my
28 understanding that ORR’s placement decisions are made solely for the welfare of the child.

     Declaration of Mario Ortiz                    1                          18cv428 DMS MDD
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  Case 3:18-cv-00428-DMS-AHG Document 46-1 Filed 03/16/18 PageID.849 Page 3 of 4




 1          5. At the request of AUSA Bettwy, I have reviewed Ms. L’s A-File for the purpose
 2 of preparing this Declaration, and I have spoken with the Detention Officer who was
 3 assigned to manage Ms. L’s detention (Officer Ramon Meraz). Since Ms. L’s entry into ICE
 4 custody, this review of records has revealed the following information:
 5                a. Ms. L was issued an Angolan passport on June 4, 2015, in Luanda, Angola,
 6 in the name of “B.M.P.”
 7                b. In the name “B.M.P.,” Ms. L applied to the U.S. consulate in Angola for
 8 nonimmigrant visas to the United States in January 2016, with the stated purpose to visit
 9 New York City as tourists for fifteen days.
10                c. Ms. L applied for the visitor visa with her daughter under the name “S.P.S.,”
11 and a person named “A.S.” who represented that he was the father of S.S. and the husband
12 of Ms. L.
13                d. The visa was refused, and the consular official noted: “Family makeup is
14 questionable at best, father is not credible at all.”
15                e. Ms. L was detained in Panama in September 2017 at which time she used
16 the name Ms. “B.N..”
17                f. Ms. L was detained in Guatemala in October 2017 at which time she used
18 the name “B.L.”
19                g. On October 24, 2017, the Mexican government issued her and S.S. exit
20 visas.
21                h. On November 2, 2017, Ms. L stated to a CBP officer that she was aided by
22 a smuggler for her entire trip to the United States.
23                i. Ms. L stated to the same CBP officer that her passport was stolen in
24 Colombia.
25                j. Ms. L later told Officer Meraz that she lost her Angolan passport in a river
26 in Colombia.
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     Declaration of Mario Ortiz                    2                         18cv428 DMS MDD
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18-cv-00428-DMS-AHG Document 46-1 Filed 03/16/18 PageID.850 Pag


       1        I make this Declaration to the best of my knowledge under penalty of perjury under
       2 the laws of the United States.
       3        DA TED: March 15, 2018
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                                                     Detention Officer
       6                                             U.S. Immigration Customs and Enforcement
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           Declaration of Mario Ortiz                3                         ! 8cv428 DMS MDD
